     Case 2:90-cv-00520-KJM-DB Document 8135 Filed 02/23/24 Page 1 of 2


 1   DONALD SPECTER – 083925                     MICHAEL W. BIEN – 096891
     STEVEN FAMA – 099641                        ERNEST GALVAN – 196065
 2   MARGOT MENDELSON – 268583                   LISA ELLS – 243657
     PRISON LAW OFFICE                           JENNY S. YELIN – 273601
 3   1917 Fifth Street                           THOMAS NOLAN – 169692
     Berkeley, California 94710-1916             MICHAEL S. NUNEZ – 280535
 4   Telephone: (510) 280-2621                   MARC J. SHINN-KRANTZ – 312968
                                                 ALEXANDER GOURSE – 321631
 5   CLAUDIA CENTER – 158255                     ADRIENNE PON HARROLD – 326640
     DISABILITY RIGHTS EDUCATION                 AMY XU – 330707
 6   AND DEFENSE FUND, INC.                      ADRIENNE SPIEGEL – 330482
     Ed Roberts Campus                           BENJAMIN W. HOLSTON – 341439
 7   3075 Adeline Street, Suite 210              MAYA E. CAMPBELL – 345180
     Berkeley, California 94703-2578             LUMA KHABBAZ – 351492
 8   Telephone: (510) 644-2555                   JARED MILLER – 353641
                                                 ROSEN BIEN
 9                                               GALVAN & GRUNFELD LLP
                                                 101 Mission Street, Sixth Floor
10                                               San Francisco, California 94105-1738
                                                 Telephone: (415) 433-6830
11 Attorneys for Plaintiffs
12
13                             UNITED STATES DISTRICT COURT
14                             EASTERN DISTRICT OF CALIFORNIA
15
16 RALPH COLEMAN, et al.,                        Case No. 2:90-CV-00520-KJM-DB
17               Plaintiffs,                     NOTICE OF CHANGE OF COUNSEL
18         v.                                    Judge: Hon. Kimberly J. Mueller
19 GAVIN NEWSOM, et al.,
20               Defendants.
21
22
23
24
25
26
27
28

                                   NOTICE OF CHANGE OF COUNSEL
     Case 2:90-cv-00520-KJM-DB Document 8135 Filed 02/23/24 Page 2 of 2


 1 TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 2         PLEASE TAKE NOTICE that Sara Norman of the Prison Law Office hereby
 3 withdraws as counsel of record for Plaintiffs in this action. Counsel of record for Plaintiffs
 4 otherwise remains the same.
 5
 6
 7 DATED: February 23, 2024                 Respectfully submitted,
 8                                          PRISON LAW OFFICE
 9
                                            By: /s/ Sara Norman
10                                              Sara Norman
11
                                            Attorneys for Plaintiffs
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                  1
                                   NOTICE OF CHANGE OF COUNSEL
